
PER CURIAM.
Petitioner’s argument that the circuit court erred in denying his petition for issuance of extraordinary writ is without merit and is rejected. But because the underlying action constitutes a “collateral criminal proceeding” pursuant to section *4557.085(10), Florida Statutes (2005), the circuit court improperly imposed a lien upon petitioner’s inmate trust account for payment of court costs and fees. See Jackson v. McDonough, 81 Fla. L. Weekly D2299, — So.2d —, 2006 WL 2527244 (Fla. 1st DCA Sept. 5, 2006); Yasir v. McDonough, 939 So.2d 221 (Fla. 1st DCA 2006); Cox v. Crosby, 31 Fla. L. Weekly D310, — So.2d —, 2006 WL 176681 (Fla. 1st DCA Jan. 26, 2006), rev. granted sub nom., McDonough v. Cox, 924 So.2d 809 (Fla.2006); Schmidt v. Crusoe, 878 So.2d 361 (Fla. 2003). We accordingly quash that portion of the circuit court’s order on indigency imposing a lien as a result of petitioner’s filing of the petition for issuance of extraordinary writ. The circuit court should direct the reimbursement of any funds that have been withdrawn from petitioner’s account to satisfy the improper lien order.
The petition is DENIED as to the challenge to the order by which the circuit court denied relief, but we QUASH that portion of the indigency order which imposed a lien.
WOLF, VAN NORTWICK, and LEWIS, JJ., concur.
